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                                                 PUBLISHED

                                   UNITED STATES COURT OF APPEALS
                                       FOR THE FOURTH CIRCUIT


                                                  No. 22-2110


        COURTHOUSE NEWS SERVICE,

                                Plaintiff – Appellant,

                        v.

        JACQUELINE C. SMITH, in her official capacity as Clerk of the Circuit Court for
        Prince William County, Virginia,

                                Defendant – Appellee,

                        and

        COMMONWEALTH OF VIRGINIA,

                                Intervenor/Defendant – Appellee.

        ------------------------------

        THE REPORTERS COMMITTEE FOR FREEDOM OF THE PRESS AND 38
        MEDIA ORGANIZATIONS,

                       Amicus Supporting Appellant.


        Appeal from the United States District Court for the Eastern District of Virginia, at
        Richmond. Henry E. Hudson, Senior District Judge. (3:21-cv-00460-HEH)


        Argued: December 7, 2023                                        Decided: January 22, 2025


        Before GREGORY, WYNN, and RUSHING, Circuit Judges.
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        Affirmed in part, vacated in part, and remanded by published opinion. Judge Rushing
        wrote the opinion, in which Judge Wynn joined. Judge Gregory wrote a dissenting opinion.


        ARGUED: Roger Myers, BRYAN CAVE LEIGHTON PAISNER, LLP, San Francisco,
        California, for Appellant. Erika L. Maley, OFFICE OF THE ATTORNEY GENERAL OF
        VIRGINIA, Richmond, Virginia; John Connell Altmiller, Jr., PESNER ALTMILLER
        MELNICK DEMERS & STEELE PLLC, Tysons, Virginia, for Appellees. ON BRIEF:
        Dabney J. Carr, IV, TROUTMAN PEPPER HAMILTON SANDERS LLP, Richmond,
        Virginia; Jonathan E. Ginsberg, New York, New York, Rachel Matteo-Boehm, BRYAN
        CAVE LEIGHTON PAISNER LLP, San Francisco, California, for Appellant. Jason S.
        Miyares, Attorney General, Steven G. Popps, Deputy Attorney General, Robert B.
        McEntee, III, Assistant Attorney General, Erin R. McNeill, Assistant Attorney General,
        Andrew N. Ferguson, Solicitor General, Graham K. Bryant, Deputy Solicitor General, M.
        Jordan Minot, Assistant Solicitor General, OFFICE OF THE ATTORNEY GENERAL OF
        VIRGINIA, Richmond, Virginia, for Appellee Commonwealth of Virginia. Heather R.
        Steele, PESNER ALTMILLER MELNICK DEMERS & STEELE PLLC, Tysons,
        Virginia, for Appellee Jacqueline C. Smith. Bruce D. Brown, Katie Townsend, Shannon
        A. Jankowski, Tyler Takemoto, REPORTERS COMMITTEE FOR FREEDOM OF THE
        PRESS, Washington, D.C., for Amici Curiae.




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        RUSHING, Circuit Judge:

               The Circuit Court for Prince William County, Virginia, makes civil court records

        available to the public at the courthouse. Courthouse News Service would like to skip the

        trip to the courthouse and view civil court records remotely on the internet, like Virginia

        attorneys can. But Virginia law prohibits the clerk of court from granting Courthouse News

        the same remote access given to attorneys. So Courthouse News sued, alleging that the

        Virginia law violates its First Amendment and Equal Protection rights. The district court

        ruled in favor of the Commonwealth. We agree with that conclusion.

                                                       I.

               All Virginia circuit courts offer public access to nonconfidential civil court filings

        and other court records at the courthouse during business hours. The Prince William

        County Circuit Court does so through public access terminals. When a litigant files a

        document with that court, the clerk enters relevant data into the case management program

        and scans the document into the casefile imaging system. “[A]lmost immediately” upon

        scanning, the document is available to view for free at public access terminals in the Prince

        William County Courthouse. J.A. 87. Anyone can print the document upon paying the

        nominal cost of making a paper copy. These terminals are open to the public Monday

        through Friday, 8:30 a.m. to 5:00 p.m.

               Virginia law leaves to the clerks of each circuit court, who are elected officials,

        whether to provide access to court records over the internet. See Va. Code Ann. § 17.1-

        225. Clerks who provide online access must ensure they do not “post on the Internet any

        document that contains . . . (i) an actual signature, (ii) a social security number, (iii) a date

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        of birth identified with a particular person, (iv) the maiden name of a person’s parent so as

        to be identified with a particular person, (v) any financial account number or numbers, or

        (vi) the name and age of any minor child.” 1 Id. § 17.1-293(B).

               This prohibition on posting personal information does not apply to a system that

        provides “secure remote access to nonconfidential court records . . . to members in good

        standing with the Virginia State Bar and their authorized agents, pro hac vice attorneys

        authorized by the court for purposes of the practice of law, and such governmental agencies

        as authorized by the clerk.” Id. § 17.1-293(E)(7). The Executive Secretary of the Supreme

        Court of Virginia has created such a system—the Officer of the Court Online Remote

        Access System, or OCRA. In each jurisdiction that uses OCRA, an authorized user pays a

        subscription fee to access the court records that jurisdiction makes available online. 2 The

        records are available to the subscriber over the internet anytime, anywhere. But Virginia

        law forbids “any data accessed by secure remote access to be sold or posted on any other

        website or in any way redistributed to any third party.” 3 Id. § 17.1-293(H).




               1
                 Litigants must “make reasonable efforts to redact all but the last four digits” of
        social security numbers, driver’s license numbers, and certain financial account numbers
        included in documents they file. Va. Code Ann. § 8.01-420.8(A).

               For example, the annual subscription fee for OCRA access in Prince William
               2

        County Circuit Court is $200 for one attorney and one employee.
               3
                 Such data, however, “may be included in products or services provided to a third
        party of the subscriber,” provided it is “not made available to the general public” and “the
        subscriber maintains administrative, technical, and security safeguards to protect the
        confidentiality, integrity, and limited availability of the data.” Va. Code Ann. § 17.1-
        293(H).

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               The clerk of the Circuit Court of Prince William County has elected to participate

        in OCRA. 4 The circuit court records available to authorized subscribers via OCRA are the

        same records available to the public via access terminals at the courthouse. After the clerk

        scans a nonconfidential civil filing into the casefile imaging system, it becomes available

        for authorized subscribers to view on OCRA “usually within five minutes.” J.A. 87. Every

        civil court record made available remotely on OCRA has already been made publicly

        available through the access terminals at the courthouse. The Prince William County

        Circuit Court’s OCRA system has approximately 274 private (non-governmental)

        subscribers and approximately 551 subscribers total.

               Courthouse News Service is a nationwide news organization that specializes in

        reporting on civil litigation in state and federal courts across the country, including courts

        in Virginia. One Courthouse News employee is based in Prince William County and visits

        the courthouse daily to review new civil case filings. Like the public, the reporter also can

        view dockets online for cases filed in Prince William County Circuit Court.

               In May 2021, Courthouse News requested OCRA access from the clerk of the

        Circuit Court for Prince William County. Pursuant to her policy of offering online access

        to civil court records only to Virginia-barred attorneys and their staff, the clerk denied the

        request because Courthouse News did not include a Virginia bar license number and a copy

        of a Virginia bar card with its application.




               4
                   The circuit court clerks of 105 of Virginia’s 120 counties have chosen to use
        OCRA.
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               Courthouse News sued the clerk, and the Commonwealth of Virginia intervened as

        a defendant. In its amended complaint, Courthouse News alleged that Virginia Code

        § 17.1-293 violates the First and Fourteenth Amendments to the United States Constitution.

        Specifically, it claimed Virginia Code § 17.1-293(E)(7)—which limits OCRA access to

        attorneys and their staff (the Access Restriction)—unconstitutionally deprives Courthouse

        News of “the First Amendment right of equal access to certain civil, nonconfidential, public

        court filings and other public court records,” including “newly-filed civil complaints.” J.A.

        32–33. Courthouse News similarly alleged that Virginia Code § 17.1-293(H)—which

        prohibits selling, posting, or redistributing data obtained from OCRA (the Dissemination

        Restriction)—violates its First Amendment rights. And finally, Courthouse News asserted

        that Virginia Code § 17.1-293 impermissibly discriminates between attorneys and non-

        attorneys in violation of the Equal Protection Clause.

               The district court dismissed Courthouse News’s Equal Protection claim because it

        did not implicate a suspect class or a fundamental right. As for the two First Amendment

        claims, the court granted summary judgment in favor of the defendants, upholding the

        Access Restriction and Dissemination Restriction as content-neutral time, place, and

        manner regulations that were justified by the Commonwealth’s interests in the orderly and

        efficient administration of justice and protection of sensitive personal information

        contained in court filings. Courthouse News appeals all three rulings. Our review is de

        novo. See Fusaro v. Howard, 19 F.4th 357, 366 (4th Cir. 2021); Soderberg v. Carrion,

        999 F.3d 962, 967 (4th Cir. 2021).



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                                                    II.

               We begin with Courthouse News’s First Amendment challenge to the Access

        Restriction.

                                                    A.

               At the outset, we must decide the applicable level of scrutiny, because “not every

        interference with [First Amendment rights] triggers the same degree of scrutiny.” Turner

        Broad. Sys., Inc. v. F.C.C., 512 U.S. 622, 637 (1994). It is helpful first to identify the

        nature of the right allegedly infringed. Speaking generally, Courthouse News claims that,

        by denying it OCRA access, the circuit court clerk has unconstitutionally impaired its right

        to access court records. But upon closer inspection, the asserted right is more narrowly

        defined.

               Our Court has recognized a First Amendment right to access certain civil court

        records that are available via OCRA. 5 Specifically, we have held that the press and the

        public have a First Amendment right of access to particular judicial records and documents

        in civil cases. Those include “newly filed civil complaints,” Courthouse News Serv. v.

        Schaefer, 2 F.4th 318, 328 (4th Cir. 2021), summary judgment motions and “documents

        filed in connection with” those motions, Rushford v. New Yorker Mag., Inc., 846 F.2d 249,

        253 (4th Cir. 1988), judicial opinions ruling on summary judgment motions, Doe v. Pub.

        Citizen, 749 F.3d 246, 267 (4th Cir. 2014), and docket sheets, id. at 268. Courthouse News

        has access to all these nonconfidential civil court records at the Prince William County


               5
                 The First Amendment, which forbids laws “abridging the freedom of speech, or of
        the press,” applies to Virginia through the Fourteenth Amendment. U.S. Const. amend. I.
                                                     7
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        Courthouse, as well as online access to dockets sheets, just like the general public. Cf. In

        re Greensboro News Co., 727 F.2d 1320, 1322 (4th Cir. 1984) (“[T]he rights of the news

        media . . . are co-extensive with and do not exceed those rights of members of the public

        in general.”).

               Our Court has further held that this right of the public and the press generally

        requires “contemporaneous” access to applicable court records—that is, access “the same

        day on which the [document] is filed, insofar as is practicable[,] and when not practicable,

        on the next court date.” Schaefer, 2 F.4th at 328 (internal quotation marks omitted).

        Courthouse News, like the general public, has contemporaneous access to the civil court

        records it seeks through the public access terminals at the courthouse. Newly filed

        documents do not appear more quickly on OCRA than they do at the public access

        terminals, and Courthouse News does not claim any unconstitutional time lag or delay.

        Nor does Courthouse News allege that any new filings become available on OCRA outside

        courthouse business hours. 6 In fact, the parties agree that when the clerk scans new civil

        filings, they are available to the public “almost immediately” at the courthouse, while

        OCRA availability occurs “shortly thereafter, usually within five minutes.” J.A. 87.

               What Courthouse News does not have is remote online access to the same civil court

        records it may contemporaneously view at the courthouse.            Importantly, however,



               6
                 We therefore reject Courthouse News’s argument that OCRA access creates a
        “virtual courthouse” that is “always open” to attorneys but “closed to the press and general
        public except during business hours.” Opening Br. 28. There is no evidence that any court
        business occurs outside of business hours.

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        Courthouse News does not claim a freestanding First Amendment right of online access to

        court records. 7 Instead, Courthouse News contends that if the clerk offers Virginia

        attorneys online access to nonconfidential civil court records, then she must offer the press

        and the public the same access—“24/7/365, via OCRA.” Opening Br. 28.

               Having identified the asserted right, we can see that the Access Restriction, and the

        clerk’s application of it, resembles a time, place, and manner regulation. Courthouse News

        undisputedly has access to all the civil court records it seeks, including the records the First

        Amendment entitles it to view. The clerk’s rejection of its OCRA application does not

        deny Courthouse News access to those documents. Rather, the denial of OCRA access

        limits when, where, and how Courthouse News may access those court records: during

        business hours at the courthouse using public access terminals instead of all hours of every

        day, remotely, using a personal computer with internet access. Cf. Schaefer, 2 F.4th at 328

        (reasoning that clerks’ practices of delaying public access to newly filed civil complaints

        for days after filing “resemble[d] time, place, and manner restrictions”).

               The strict scrutiny with which we ordinarily examine the asserted infringement of a

        First Amendment right of access does not apply to “limitations on the right of access that

        resemble ‘time, place, and manner’ restrictions on protected speech.” Globe Newspaper

        Co. v. Superior Ct. for Norfolk Cnty., 457 U.S. 596, 607 n.17 (1982) (quoting Young v. Am.

        Mini Theaters, Inc., 427 U.S. 50, 63 n.18 (1976)); cf. Richmond Newspapers, Inc. v.


               7
                 Accordingly, no party has offered arguments under the “experience and logic” test
        we use to determine whether the First Amendment provides a right of access to a particular
        judicial proceeding or record. See Schaefer, 2 F.4th at 326 (internal quotation marks
        omitted).
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        Virginia, 448 U.S. 555, 581 n.18 (1980) (plurality); id. at 600 (Stewart, J., concurring). To

        those limitations “we apply more relaxed scrutiny.” Schaefer, 2 F.4th at 328. Under this

        standard, the challenged practice must be “content-neutral, narrowly tailored and necessary

        to preserve the court’s important interest[s].” Id. (internal quotation marks omitted); cf.

        Young, 427 U.S. at 63 n.18 (“Reasonable regulations of the time, place, and manner of

        protected speech, where those regulations are necessary to further significant governmental

        interests, are permitted by the First Amendment.”); Ward v. Rock Against Racism, 491 U.S.

        781, 791 (1989) (“[T]he government may impose reasonable restrictions on the time, place,

        or manner of protected speech, provided the restrictions are justified without reference to

        the content of the regulated speech, that they are narrowly tailored to serve a significant

        governmental interest, and that they leave open ample alternative channels for

        communication of the information.” (internal quotation marks omitted)). That is the

        standard we must apply here. 8




               8
                 Courthouse News urges us to reconsider the relaxed standard our Court articulated
        in Schaefer and instead apply a purportedly more stringent standard employed by the Ninth
        Circuit in Courthouse News Service v. Planet, 947 F.3d 581 (9th Cir. 2020). We are not at
        liberty to ignore this Court’s directly applicable precedent. Moreover, Schaefer cited
        Planet but notably did not adopt the rigorous scrutiny Courthouse News claims the Ninth
        Circuit applied there. Compare, e.g., Schaefer, 2 F.4th at 328 (rejecting the strict scrutiny
        of Globe Newspaper, 457 U.S. at 606–607), with Planet, 947 F.3d at 596 (applying a test
        based on Press-Enterprise Co. v. Superior Ct. of Cal., 478 U.S. 1, 13–14 (1986), and Press-
        Enterprise Co. v. Superior Ct. of Cal., 464 U.S. 501, 509–510 (1984), which came from
        Globe Newspaper, 457 U.S. at 606–607). Nor does Schaefer conflict with this Court’s
        decision in In re Charlotte Observer, 882 F.2d 850, 852 (4th Cir. 1989), which, like the
        Press-Enterprise decisions, addressed courtroom closure and sealing orders in a criminal
        case.
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                                                     B.

               We turn now to assessing whether the Access Restriction satisfies the “relaxed

        scrutiny” applicable to time, place, and manner limitations on the right of access. Schaefer,

        2 F.4th at 328. We first consider whether the Access Restriction is “content-neutral” and

        then whether it is “narrowly tailored and necessary to preserve the [government’s]

        important interest[s].” Id. (internal quotation marks omitted).

                                                      1.

               Laws that burden the right to access court records “without reference to the ideas or

        views expressed” therein and that are “justified without reference to the content” of the

        records are content-neutral. Turner Broad. Sys., 512 U.S. at 643; Ward, 491 U.S. at 791.

        By contrast, a government regulation is content-based if it “applies to particular speech

        because of the topic discussed or the idea or message expressed.” Reed v. Town of Gilbert,

        576 U.S. 155, 163 (2015).

               The Access Restriction is content-neutral. As the district court correctly observed,

        the Access Restriction “applies to all nonconfidential civil court records in the same fashion

        and does not treat civil court records about a certain subject or topic differently than

        others.” 9 Courthouse News Serv. v. Hade, 631 F. Supp. 3d 349, 362 (E.D. Va. 2022). It

        “does not center around disagreement with the message [a record] conveys, turn upon the

        communicative contents of the court records, nor change based on viewpoint or subject

        matter.” Id.


               9
                The Access Restriction refers to “nonconfidential court records.” Va. Code Ann.
        § 17.1-293(E)(7). Courthouse News does not claim a right to access confidential records.
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               Courthouse News does not dispute that the Access Restriction is facially content-

        neutral but argues that it is akin to an impermissible speaker-based restriction and

        motivated by government disapproval of certain speech. Because speech restrictions

        “based on the identity of the speaker” can be “a means to control content,” laws “favoring

        some speakers over others demand strict scrutiny when the legislature’s speaker preference

        reflects a content preference.” Reed, 576 U.S. at 170 (internal quotation marks omitted).

        Accepting for argument the parties’ adaptation of this principle to the right of access, it

        does not apply here, where there is no reason to think that providing Virginia attorneys, but

        not the general public, with online access to court records has any relation to the content

        of the records each group accesses. Courthouse News and the public have access to the

        exact same content at the courthouse as OCRA subscribers have via online access. The

        Access Restriction therefore does not reflect a preference about what records non-attorneys

        may access but how non-attorneys may access those records.

               As for the law’s justification, the Commonwealth defends the restriction as targeting

        dangers particular to online access—primarily, mass data harvesting of electronic

        documents. This justification has nothing to do with the content of any given court record

        or disagreement with Courthouse News accessing that content, and everything to do with

        the method of access. Indeed, nothing about the Access Restriction suggests the General

        Assembly adopted it because of “disagreement with the message” conveyed by any court

        records or disapproval of the ideas or viewpoints expressed by those who access court

        records. Id. at 164 (internal quotation marks omitted). This is demonstrated most vividly



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        by the fact that all court records accessible to Virginia attorneys via OCRA are available

        for public inspection and copying at the courthouse.

                                                      2.

               Turning next to the “governmental interest[s]” asserted to justify the Access

        Restriction, we have no doubt they are “significant.” Ward, 491 U.S. at 791 (internal

        quotation marks omitted); see also Schaefer, 2 F.4th at 328. The Commonwealth identifies

        two interests served by the Access Restriction: protecting sensitive personal information

        contained in court records and furthering the orderly and efficient administration of justice.

        Courthouse News does not seriously dispute the significance of these interests and waived

        any arguments to the contrary by waiting until its reply brief to raise them. See, e.g.,

        Opening Br. 53 (“All courts share an interest in preventing harm caused by misuse of

        personal identifiers, and ensuring the efficient administration of justice.”); Reply Br. 25

        n.17 (acknowledging that the Commonwealth “invokes a privacy interest recognized as

        ‘important’ in other First Amendment access cases”); see also Clendening v. United States,

        19 F.4th 421, 430 n.7 (4th Cir. 2021) (“A party waives an argument by raising it for the

        first time in its reply brief.” (internal quotation marks and brackets omitted)).

               In any event, both interests suffice. First, as this Court has previously recognized,

        the Commonwealth has an “important interest” in the efficient and “orderly administration

        of justice.” Schaefer, 2 F.4th at 328; see also Sharpe v. Winterville Police Dep’t, 59 F.4th

        674, 681 (4th Cir. 2023) (“Defendants may point to common sense and caselaw to establish

        that the [government] has a valid interest . . . .”); Reynolds v. Middleton, 779 F.3d 222, 228



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        (4th Cir. 2015) (“[T]he existence of a governmental interest may be established by

        reference to case law.”).

               Second, safeguarding sensitive personal information in court records is an important

        governmental interest. Civil litigation can “implicate privacy interests of litigants and third

        parties” by requiring them to disclose to one another and the court personal identifying

        information that is susceptible to misuse. Seattle Times Co. v. Rhinehart, 467 U.S. 20, 35

        (1984). For example, the court records available through OCRA include signatures,

        birthdates, maiden names, and the names and ages of minor children, along with partial

        social security numbers, driver’s license numbers, and financial account numbers. Va.

        Code Ann. § 17.1-293(B), (E)(7); see id. § 8.01-420.8. As the custodian of that electronic

        compilation of records, the circuit court clerk has an important interest in protecting

        privacy and “‘forestall[ing] . . . the injury’” caused by dissemination and misuse of that

        personal information, including identity theft, fraud, and exploitation.         Ostergren v.

        Cuccinelli, 615 F.3d 263, 275 (4th Cir. 2010) (quoting The Fla. Star v. B.J.F., 491 U.S.

        524, 534 (1989)); see also Seattle Times, 467 U.S. at 35 (reasoning “[t]he government

        clearly has a substantial interest in preventing” the “public[] release[]” of information

        obtained during discovery that “could be damaging to [the] reputation and privacy” of

        litigants and third parties); Nat’l Federation of the Blind v. FTC, 420 F.3d 331, 339 (4th

        Cir. 2005) (recognizing the “substantial” governmental interest in protecting the public

        from fraud); Lamphere & Urbaniak v. Colorado, 21 F.3d 1508, 1515 (10th Cir. 1994)

        (observing “[t]he State’s interest in protecting privacy” in court records); cf. U.S. Dep’t of

        Just. v. Reps. Comm. For Freedom of Press, 489 U.S. 749, 752, 763–764 (1989)

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        (acknowledging privacy interest in “rap sheet,” which compiled information such as “date

        of birth and physical characteristics” as well as criminal history, and noting the “vast

        difference” between “scattered disclosure of [] bits of information” and “a single

        clearinghouse of [that same] information”).

                                                      3.

               Our ultimate inquiry is whether the Access Restriction is narrowly tailored to serve

        these important interests. In this context, “[a] regulation is narrowly tailored if it . . .

        ‘promotes a substantial government interest that would be achieved less effectively absent

        the regulation,’ and . . . does not ‘burden substantially more speech than is necessary to

        further the government’s legitimate interests.’” Ross v. Early, 746 F.3d 546, 555 (4th Cir.

        2014) (quoting Ward, 491 U.S. at 799).

               According to the Commonwealth, civil court records available through remote

        online access are uniquely susceptible to a practice known as “data mining” or “data

        harvesting,” which facilitates easy identification, collection, and misuse of sensitive

        personal information. Commw. Br. 9. As the Commonwealth’s declarant 10 explains,

        “[a]nyone with rudimentary programming knowledge” can download and convert imaged

        documents “to searchable text, aggregate the data in a database, and subsequently search

        through the data for” personally identifiable information. J.A. 128. This practice is


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                  This particular declarant is the “Deputy Director – Application Development
        Manager” of the Department of Judicial Information Technology within the Office of the
        Executive Secretary of the Supreme Court of Virginia. J.A. 127. In a passing footnote,
        Courthouse News asserts that his declaration lacks foundation because it does not establish
        the declarant’s personal knowledge about facts predating his employment. We do not find
        that contention persuasive.
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        typically done by “internet robots,” or “bots,” computer programs that can operate without

        input from a human user once they are activated. J.A. 129. “Data mining typically requires

        easy access to large volumes of data, which bots programmed to seek personal information

        can quickly search.” Commw. Br. 45. Mined personally identifiable information can then

        be used to enable identity theft and other types of fraud and exploitation.

               The Commonwealth presents evidence that publicly available online records

        systems operated by the Executive Secretary of the Supreme Court of Virginia have been

        “subjected to manual and/or automated data mining from around the world.” J.A. 129. For

        example, bots have mined the Online Case Information Systems (OCIS) for Virginia

        general district courts and circuit courts, which systems allow users to obtain docket

        information about cases in participating courts. “[I]nstead of searching for a few cases or

        names within a single session, the bots would enter searches for every single possible case

        number within the database, sequentially,” far faster than what a human is capable of

        entering. J.A. 129. Another example concerns the Virginia Date of Birth Confirmation

        System (VDBC), which allows registered organizations to search OCIS to confirm if an

        individual is “associated with . . . criminal and traffic cases.” J.A. 129. The VDBC system

        allows for searches based on name, date of birth, driver’s license information, and the last

        four digits of a social security number. VDBC has been mined for data by users and bots

        that “perform[] multiple searches based on guessed, partial data” in order to “piece together

        the [personal identifying information] underlying the VDBC which is not shown.” J.A.

        130. For instance, “to discover the full date of birth, users and/or bots will enter a number,

        pick a starting year,” and then search sequentially until data appears, allowing them to

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        “discover[] the full birth date by process of elimination,” despite the fact that the database

        does not display it. J.A. 130.

               Notably, these problems have persisted despite various preventive measures the

        Commonwealth has imposed. For example, to gain electronic access to VDBC, a potential

        user must assent to a registration agreement which forbids “any form or automated

        scripting against the system,” “access[ing] or attempt[ing] to access the system in an

        excessive manner,” and “misus[ing] search criteria or conduct[ing] searches in a manner

        that may be construed as attempting to gather information for purposes other than that for

        which the system was designed.” J.A. 130 (internal quotation marks omitted). Despite

        these terms and the Commonwealth’s efforts to ban violators, “VDBC has been mined for

        data.” J.A. 130. The Executive Secretary also uses various “anti-scripting tactics” but has

        found they “can be anticipated and circumvented by determined data miners.” J.A. 130.

        For example, defensive “algorithms can detect bot activity by determining that any session

        that makes over a given number of searches in a given time resembles bot activity.” J.A.

        130. But a bot can quickly “adapt and search just under [the] algorithm’s limit” to avoid

        getting banned. J.A. 130. And after being banned, “a determined data harvester” can

        successfully “reapply for access” to VDBC because “there is no real way to vet registrants.”

        J.A. 130–131.

               Like OCIS and VDBC, OCRA provides online access to court records that contain

        sensitive personal information in an electronic format that is susceptible to mass data

        harvesting. The Commonwealth contends that the Access Restriction promotes its interest

        in safeguarding this information in two primary ways.

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               First, restricting the public to accessing civil court records at the courthouse

        eliminates the possibility that a member of the public will engage in data mining. At the

        courthouse, a person “cannot digitally download court records,” much less “download [and

        search] every available nonconfidential court record containing personally identifiable

        information” like a remote online user could. J.A. 128. Further, at the courthouse a person

        must request and print documents individually, making it impracticable to obtain the large

        volume of data necessary for mining or to search the public access terminal using bots.

               Second, limiting OCRA access to attorneys protects against data mining and misuse

        of sensitive personal information by confining remote online access to “a self-policing,

        pre-vetted group subject to codified Rules of Professional Conduct and serious professional

        sanctions for violating those Rules,” including the possibility of losing their livelihood.

        Courthouse News Serv., 631 F. Supp. 3d at 366. At the same time, the Commonwealth

        urges, granting Virginia attorneys and their staff online access to court records furthers its

        important interest in the orderly and efficient administration of justice by ensuring that

        participants essential to the justice system have ready access to the information necessary

        to perform their professional obligations. As the Commonwealth explains, online access

        to civil court records makes it easier for attorneys “to serve their clients effectively and

        cost-efficiently,” thereby fostering access to justice and its efficient and orderly

        administration. Commw. Br. 47.

               We are satisfied the Commonwealth has demonstrated that the threat of data mining

        for records available in OCRA is “real, not merely conjectural,” and that the Access

        Restriction “alleviates [that] harm[] in a direct and material way” while also fostering

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        attorneys’ access to information necessary for performing their obligations as officers of

        the court. Ross, 746 F.3d at 556 (internal quotation marks omitted). Evidence that data

        mining has occurred in other publicly available online databases, despite preventive

        measures to mitigate that harm, amply demonstrates the real risk to sensitive personal

        information in court records.      It also demonstrates that the Access Restriction, by

        preventing public remote access, furthers the Commonwealth’s interest in protecting that

        information. 11 As a matter of “common sense and logic,” giving Virginia attorneys and

        their staff remote online access to Virginia court records promotes effective legal

        representation and efficient court administration. Ross, 746 F.3d at 556 (internal quotation

        marks omitted); see also Sharpe, 59 F.4th at 681 (“Defendants . . . can rely on any obvious

        connection between the asserted interest and the challenged regulation to show that their

        policy was appropriately tailored . . . .” (internal quotation marks omitted)); Reynolds, 779

        F.3d at 228 & n.4 (instructing that “objective evidence is not always required to show that

        a speech restriction furthers the government’s interests,” especially where the relationship

        is “obvious”). By limiting online access to this relatively small, vetted group of individuals

        who are strongly incentivized to follow OCRA’s rules and who can be effectively

        disciplined for misconduct, the Access Restriction furthers the Commonwealth’s interest

        in safeguarding sensitive personal information in court records.         Absent the Access




               11
                 Because this evidence and common sense demonstrate a relationship between the
        Commonwealth’s important interests and the Access Restriction, we, like the district court,
        do not address the secondary sources the Commonwealth cites as additional evidence.
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        Restriction, the Commonwealth’s significant interests “‘would be achieved less

        effectively.’” Ross, 746 F.3d at 556 (quoting Ward, 491 U.S. at 799).

               To avoid this conclusion, Courthouse News attempts to poke holes in the evidence.

        It argues that data mining in OCIS and VDBC is insufficient to demonstrate that sensitive

        personal information is genuinely at risk in OCRA because the Commonwealth hasn’t

        proven that the data mining was for a nefarious purpose. And Courthouse News faults the

        Commonwealth for failing to quantify how frequently sensitive personal information

        actually appears in civil court records.

               These contentions insist on a level of exactitude not required by the applicable legal

        standard. The Commonwealth has demonstrated that online access to civil court records

        presents a “plausible threat” to the privacy and security of sensitive personal information

        in those records. Ross, 746 F.3d at 556. State court civil records cover a wide range of

        matters, including such traditional state concerns as family and property law. It is no

        stretch to accept that those records include sensitive personal information that OCRA does

        not require to be redacted, including “an actual signature,” “a date of birth identified with

        a particular person,” “the maiden name of a person’s parent so as to be identified with a

        particular person,” “the name and age of any minor child,” and partial social security

        numbers, driver’s license numbers, and financial account numbers. Va. Code Ann. § 17.1-

        293(B); see id. § 17.1-293(E) (authorizing clerks to provide attorneys and their staff with

        “secure remote access” to court records containing this information); id. § 8.01-420.8(A)

        (requiring litigants to redact “all but the last four digits” of any social security number,



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        driver’s license number, or “electronic billing and payment system” number). 12 Data

        harvesting undermines the privacy and security of that personal information, even if bots

        are not inherently bad. The Commonwealth’s evidence suffices to show that the Access

        Restriction protects against the mass collection of personal identifying information, which

        is a “real, not merely conjectural,” risk associated with online access to state civil court

        records.

               We are also satisfied that the Access Restriction is not “‘substantially broader than

        necessary to achieve the government’s’” legitimate interests. Ross, 746 F.3d at 557

        (quoting Ward, 491 U.S. at 800). Under this standard, a regulation “need not be the least

        restrictive or least intrusive means” of achieving the government’s desired end. Ward, 491

        U.S. at 798. Rather, “[t]he government has considerable latitude” to “employ the means

        of its choosing” to promote its interests. Satellite Broad., 275 F.3d at 364 (internal

        quotation marks omitted). “So long as the means chosen are not substantially broader than

        necessary to achieve the government’s interest, . . . the regulation will not be invalid simply

        because . . . the government’s interest could be adequately served by some less[]restrictive

        alternative.” Ward, 491 U.S. at 800.



               12
                  Courthouse News suggests that other statutory provisions shield some of this
        sensitive personal information from public view. One of the problems with that premise is
        that many of the statutes Courthouse News cites do not categorically seal or redact
        information. See, e.g., Va. Code Ann. § 8.01-217(G) (providing that the court “may order”
        name change records to be sealed if there is “a serious threat to the health or safety of the
        applicant or his immediate family”); id. § 20-124 (“Upon motion of a party . . . the court
        may order” divorce records or agreements to be sealed.); id. § 20-146.20(E) (sealing
        identifying information in child custody records if the “health, safety, or liberty of a party
        or child would be jeopardized by disclosure of” that information).
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               The Access Restriction does not burden substantially more access to court records

        than necessary to further the government’s interests in protecting sensitive personal

        information and facilitating the orderly and efficient administration of justice. Instead, the

        Access Restriction is limited in scope and tailored to the online danger it is intended to

        address. The public and the press can access all nonconfidential civil court records at the

        courthouse; the regulation does not shield any court records from public view. The

        restriction burdens only remote access to those same records over the internet—the

        medium uniquely vulnerable to data mining and subsequent misuse of sensitive personal

        information. Where that concern does not exist, the Access Restriction imposes no burden.

        In this respect, the regulation achieves “the essence of narrow tailoring”: it “focuses on the

        source of the evils the [Commonwealth] seeks to eliminate” while leaving untouched other

        forms of access that “do[] not create the same evils.” Id. at 799 n.7; see also Ross, 746

        F.3d at 557 (finding policy narrowly tailored where it “does no more than ‘target[] and

        eliminate[] . . . the exact source of the evil it seeks to remedy’” (quoting Frisby v. Schultz,

        487 U.S. 474, 485 (1988)).

               Likewise, offering remote online access only to Virginia attorneys and their staff,

        as the circuit court clerk does, is narrowly tailored to promote the significant governmental

        interest in the orderly and efficient administration of justice. As previously discussed,

        attorneys and their staff do not pose the same threat to sensitive personal information as

        the public at large. By granting these individuals online access, the Commonwealth does

        not jeopardize its interest in safeguarding sensitive personal information in court records.



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        Moreover, attorneys are officers of the court and play an essential role in the legal system,

        which online access to court records facilitates.

               Courthouse News counters that the Access Restriction is not narrowly tailored

        because “readily available less-speech-restrictive alternatives” exist. Opening Br. 61.

        Specifically, Courthouse News pitches (1) more redaction, (2) “restricting online access

        for all except the parties and their counsel in case types where identifiers commonly

        appear,” and (3) “commonly-used bot management, mitigation and protection practices.”

        Opening Br. 58–59, 60. As an initial matter, we reiterate that a time, place, or manner

        regulation is not invalid “‘simply because a court concludes that the government’s interest

        could be adequately served by some less-speech-restrictive alternative.’” Ross, 746 F.3d

        at 557 (quoting Ward, 491 U.S. at 800); see also Ward, 491 U.S. at 798 n.6 (“[L]east-

        restrictive-alternative analysis is wholly out of place” in assessing time, place, or manner

        regulations.).   And the Commonwealth’s evidence shows it has “actually tried or

        considered” less restrictive alternatives and found them “inadequate to serve [its] interest.”

        Billups v. City of Charleston, 961 F.3d 673, 688 (4th Cir. 2020).

               Beginning with redaction, the Commonwealth has produced evidence that

        expanding the clerk’s current redaction review process to include all sensitive personal

        information that Virginia law prohibits a clerk to post on the internet, see Va. Code Ann.

        § 17.1-293(B), would “cost substantial additional funds” and time, J.A. 138. One court

        clerk explained that redaction introduces delays into the process of posting court filings for

        public view and estimated that, if court filings were made available to the public on the

        internet, his redaction costs would more than quadruple. He also predicted, reasonably,

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        that attorneys would likely make in-person requests for the unredacted documents.

        Burdensome redaction procedures and increased demands on court clerks undermine the

        government’s interest in the orderly and efficient administration of justice.

               Regarding Courthouse News’s passing suggestion to seal online records for certain

        case types, it is not apparent that alternative is actually less restrictive or would adequately

        protect personal information. Courthouse News cites existing laws that permit sealing in

        individual cases for good cause, but the Commonwealth’s interest in protecting sensitive

        personal information online extends far beyond those individualized circumstances. See,

        e.g., Va. Code Ann. § 20-146.20(E) (sealing child custody records if the “health, safety, or

        liberty of a party or a child would be jeopardized by disclosure of identifying

        information”); id. § 8.01-217(G) (permitting court to seal name change records if there is

        “a serious threat to the health or safety of the applicant or his immediate family”).

        Moreover, sealing all cases of a certain type would reduce attorney access to court records.

               As for bot management and other security measures, the Commonwealth’s actual

        experience with those tactics in other online court records systems supports its assertion

        that they are less effective than the Access Restriction at protecting sensitive personal

        information. See Reynolds, 779 F.3d at 232 (requiring the government to show it “tried to

        use the available alternatives to address its safety concerns”). Bots and “determined data

        miners” have proven sufficiently sophisticated to anticipate, circumvent, and evade the

        courts’ “anti-scripting tactics.” J.A. 130. A mandatory subscription agreement has failed

        to deter data mining in the VDBC, even though the agreement specifically prohibits

        “automated scripting against the system” and is enforced by banning violators. J.A. 130

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        (internal quotation marks omitted). Given the Commonwealth’s experience with these

        methods in other online databases, it need not pursue these flawed alternatives for OCRA

        and then, only after exposing the sensitive personal information of its citizens to malicious

        actors, turn to the more effective method of restricting OCRA access to attorneys and their

        staff.

                 Finally, Courthouse News makes much of the fact that various other jurisdictions

        offer the public online access to court records. We agree with the district court that, without

        evidence about how other courts’ online access systems work and whether they are

        effective at safeguarding the sensitive personal data that concerns the Commonwealth, the

        existence of remote online access systems in other jurisdictions “does not alter our

        conclusion that the [Access Restriction] does not burden substantially more [access to court

        records] than necessary” to achieve the Commonwealth’s important interests. Ross, 746

        F.3d at 557. It is tailored to address the threat presented by remote online access to civil

        court records, while leaving untouched the public’s full access to the same records at the

        courthouse.

                                                       4.

                 An additional consideration in the narrow tailoring analysis, at least for restrictions

        on speech, is whether the challenged regulation “leave[s] open ample alternative channels

        of communication.” Ward, 491 U.S. at 802. Our Court in Schaefer did not mention this

        requirement when articulating the standard for evaluating time, place, and manner

        restrictions on the right to access court records. See 2 F.4th at 328. The parties here



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        nevertheless assume the alternative-channels requirement would be imported into this

        context, so we address it for the sake of argument.

               The Access Restriction unquestionably leaves open an alternative avenue for

        accessing Prince William County Circuit Court records, namely, the public access

        terminals at the courthouse where the press and the public can view and print all the same

        records that are available on OCRA. Courthouse News acknowledges this alternative but

        argues it is inadequate because of “the travel time and expense” required to visit multiple

        courthouses throughout the Commonwealth. Opening Br. 65. Even if that were true, and

        even if we were to consider the choices made by court clerks in other counties, “the First

        Amendment affords no special protection to a [plaintiff’s] favored or most cost-effective

        mode” of exercising his rights. Ross, 746 F.3d at 559 (internal quotation marks omitted).

        Of course, for many individuals, viewing court records for free at the courthouse and

        paying only for in-person printing costs would be less expensive than purchasing OCRA

        access. In any event, “the available alternatives need not be the speaker’s first or best

        choice” to pass constitutional muster.     Id. (internal quotation marks omitted).      The

        courthouse public access terminals are an adequate alternative avenue for accessing civil

        court records.

                                              *      *        *

               In sum, the Access Restriction does not contravene the First Amendment right to

        access court records because it is a content-neutral time, place, and manner regulation that

        is narrowly tailored to further the Commonwealth’s important interests in protecting



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        sensitive personal information and promoting the orderly and efficient administration of

        justice.

                                                      III.

               We turn next to Courthouse News’s First Amendment challenge to the

        Dissemination Restriction, which forbids “any data accessed by secure remote access to be

        sold or posted on any other website or in any way redistributed to any third party.” Va.

        Code Ann. § 17.1-293(H). In view of our ruling that Courthouse News is not entitled to

        OCRA access, we conclude it lacks standing to challenge this provision. See Steel Co. v.

        Citizens for a Better Env’t, 523 U.S. 83, 95 (1998) (“[E]very federal appellate court has a

        special obligation to satisfy itself not only of its own jurisdiction, but also that of the lower

        courts in a cause under review, even though the parties are prepared to concede it.” (internal

        quotation marks omitted)).

               The Dissemination Restriction does not impose any restraint on Courthouse News’s

        speech, because it applies only to individuals with remote online access to court records.

        Courthouse News does not currently have such access, and we have determined it is not

        constitutionally entitled to receive that access. The circuit court clerk has made clear she

        will not provide OCRA access to anyone but Virginia-barred attorneys and their staff, and

        nothing suggests Courthouse News will be offered any type of remote online access to

        Prince William County Circuit Court records in the near future. Because the Dissemination

        Restriction does not apply to Courthouse News’s speech, it lacks standing to challenge that

        provision. See Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016) (requiring a “personal and

        individual” injury in fact to establish standing to sue (internal quotation marks omitted)).

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               Courthouse News suggests that the Dissemination Restriction indirectly injures it

        by hindering its ability to acquire electronic court records from attorneys with OCRA

        access. “But to have standing to assert a right to receive speech, a plaintiff must show that

        there exists a speaker willing to convey the information to her.” Stephens v. Cnty. of

        Albemarle, 524 F.3d 485, 492 (4th Cir. 2008). Courthouse News has not identified anyone

        who would redistribute data from OCRA to Courthouse News absent the Dissemination

        Restriction, nor has it offered any evidence from which the existence of such a person can

        be inferred. See id. We therefore conclude that Courthouse News’s assertion of derivative

        injury is “too speculative to support standing.” Id. at 491.

               Accordingly, we vacate the district court’s summary judgment ruling on Courthouse

        News’s First Amendment challenge to the Dissemination Restriction and remand for the

        district court to dismiss this claim without prejudice.        See S. Walk at Broadlands

        Homeowner’s Ass’n v. OpenBand at Broadlands, LLC, 713 F.3d 175, 185 (4th Cir. 2013)

        (“A dismissal for lack of standing . . . must be one without prejudice, because a court that

        lacks jurisdiction has no power to adjudicate and dispose of a claim on the merits.”).

                                                    IV.

               Lastly, we address Courthouse News’s claim that the Access Restriction violates

        the Equal Protection Clause of the Fourteenth Amendment. According to Courthouse

        News, the Access Restriction’s differential treatment of individuals seeking online access

        to court records violates the Equal Protection Clause for the same reasons it violates the

        First Amendment. Having rejected the argument that the Access Restriction violates the



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        First Amendment by limiting OCRA access to attorneys, we also conclude that it is

        consonant with equal protection.

               “‘[W]here the state shows a satisfactory rationale for a content-neutral time, place,

        and manner regulation, that regulation necessarily’ survives scrutiny under the Equal

        Protection Clause.” Brown v. City of Pittsburgh, 586 F.3d 263, 283 (3d Cir. 2009) (quoting

        McGuire v. Reilly, 260 F.3d 36, 49–50 (1st Cir. 2001)). So it is here: the Access Restriction

        “passes muster under the Equal Protection Clause for the same reasons that it passes muster

        under the First Amendment.” McGuire, 260 F.3d at 50; see also Williams v. City of

        Columbia, 906 F.2d 994, 999 (4th Cir. 1990) (rejecting equal protection claim based on

        fundamental right of free speech because the ordinance in question “is a content-neutral

        time, place and manner restriction”).

               Courthouse News protests that, under the Equal Protection Clause, legislative

        actions that impinge upon a fundamental right are subject to strict scrutiny. We agree with

        our sister circuits that “this standard does not apply to content-neutral time, place, and

        manner restrictions valid under Ward’s First Amendment test.” Brown, 586 F.3d at 283

        n.22. As the Third Circuit explains, “[i]f every time, place, and manner regulation were

        subject to strict scrutiny under the Equal Protection Clause simply because it burdened

        constitutionally protected speech, Ward’s intermediate-scrutiny test would be rendered

        obsolete.” Id. Instead, consistent with Supreme Court precedent, “it is only content-based

        time, place, and manner regulations that call for strict scrutiny—whether viewed through

        the lens of First Amendment or Equal Protection doctrine.” Id.; see McGuire, 260 F.3d at

        49 (“[T]he equal protection interests involved in the differential treatment of speech are

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        inextricably intertwined with First Amendment concerns . . . .”); cf., e.g., Carey v. Brown,

        447 U.S. 455 (1980) (holding that content-based picketing restriction violated the Equal

        Protection Clause); Police Dep’t of City of Chicago v. Mosley, 408 U.S. 92, 101 (1972)

        (same, explaining that the ordinance “describe[d] impermissible picketing not in terms of

        time, place, and manner, but in terms of subject matter”). Because we have already

        determined that the Access Restriction is content-neutral, strict scrutiny does not apply.

                                                     V.

               To conclude, the Access Restriction does not violate the First Amendment but

        permissibly and in a content-neutral fashion regulates the time, place, and manner in which

        Courthouse News may access the nonconfidential civil court records of the Prince William

        County Circuit Court. Having survived First Amendment scrutiny, the Access Restriction

        also does not run afoul of the Equal Protection Clause. We therefore affirm the district

        court’s judgment rejecting both of those claims. As for the Dissemination Restriction,

        Courthouse News lacks standing to challenge it; therefore, we vacate the district court’s

        ruling on that claim and remand for the court to dismiss that claim without prejudice.

                                  AFFIRMED IN PART, VACATED IN PART, AND REMANDED




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        GREGORY, Circuit Judge, dissenting:

               I respectfully dissent from the majority opinion. As the United States Court of

        Appeals for the Ninth Circuit observed, “[t]he free press is the guardian of the public

        interest, and the independent judiciary is the guardian of the free press.” Courthouse News

        Serv. v. Planet, 947 F.3d 581, 589–90 (9th Cir. 2020) (citation omitted). In this case, the

        press invokes our promise of protection and, I fear, the majority has failed to provide it.

               I would find that both the Access and Dissemination Restrictions are subject to First

        Amendment strict scrutiny. And, because this case could be resolved on purely First

        Amendment grounds, I would decline to consider Courthouse News’ equal protection

        challenge. I would, therefore, reverse the district court’s grant of summary judgment to

        the government and remand for reconsideration of both restrictions under the strict scrutiny

        standard.


                                                       I.

               The First Amendment provides that:

               Congress shall make no law respecting an establishment of religion, or
               prohibiting the free exercise thereof; or abridging the freedom of speech, or
               of the press; or the right of the people peaceably to assemble, and to petition
               the Government for a redress of grievances.

        U.S. Const. amend. I. “[A]nd it is no longer open to doubt that the liberty of the press and

        of speech, is within the liberty safeguarded by the due process clause of the Fourteenth

        Amendment from invasion by state action.” Neb. Press Ass’n v. Stuart, 427 U.S. 539, 556

        (1976) (citation and quotation marks omitted). Thus, the First Amendment applies with

        equal force to state action, like that implicated here.

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                                                     II.

               I would remand to the district court to determine if the Access Restriction can

        survive strict scrutiny. To begin, the majority and I differ on the proper level of scrutiny.

        While the majority considers the Access Restriction a permissible time, place, and manner

        regulation, supra at 9 (majority opinion), I would find that the Access Restriction

        constitutes “listener-based discrimination.” Though this doctrine has been lurking in our

        jurisprudence, it has yet to be christened or fully defined. Today, I endeavor to do both.

        Because this listener-based discrimination relates to judicial records, I would subject the

        Access Restriction to strict scrutiny. Therefore, I would remand to the district court for a

        consideration of whether the Access Restriction satisfies strict scrutiny.

                                                     A.

               Though not neatly falling into either framework, the Access Restriction sits at the

        confluence of two lines of First Amendment jurisprudence: the First Amendment’s

        guarantee of access to judicial documents and its prohibition on content discrimination.

        Together, these ensure a right to be free from “listener-based discrimination.” And, under

        this doctrine, I would hold that the Access Restriction is a form of listener-based

        discrimination.

               First, it is well-established that the First Amendment guarantees access to judicial

        documents. It is true that this right does not appear in the text of the First Amendment

        itself but, as the Supreme Court observed, “[t]he First Amendment is [ ] broad enough to

        encompass those rights that, while not unambiguously enumerated in the very terms of the

        Amendment, are nonetheless necessary to the enjoyment of other First Amendment rights.”

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        Globe Newspaper Co. v. Superior Ct. for Norfolk Cnty., 457 U.S. 596, 604 (1982). This

        includes the “freedom to listen,” Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555,

        576 (1980) (plurality opinion); see also Willis v. Town of Marshall, 426 F.3d 251, 259–60

        (4th Cir. 2005) (gathering cases), and a qualified public right to access judicial documents,

        Press-Enterprise Co. v. Superior Ct. of Cal. for Riverside Cty., 478 U.S. 1, 11 (1986); see

        also Cal. First Amend. Coal. v. Woodford, 299 F.3d 868, 873 (9th Cir. 2002) (“It is well-

        settled that the First Amendment guarantees the public—and the press—a qualified right

        of access to governmental proceedings.”). At its heart, this right of public access “protects

        the public against the government’s ‘arbitrary interference with access to important

        information.’” N.Y.C.L. Union v. N.Y.C. Transit Auth., 684 F.3d 286, 298 (2d Cir. 2012)

        (quoting Richmond Newspapers, Inc., 448 U.S. at 583 (Stevens, J., concurring)). After all,

        “[a] free press cannot be made to rely solely upon the sufferance of government to supply

        it with information.” Smith v. Daily Mail Publ’g Co., 443 U.S. 97, 104 (1979). Without

        news, the news has nothing to say.

               Second, it is axiomatic that the First Amendment “prohibits a restriction on speech

        that is predicated on its message, its ideas, its subject matter, or its content.” Fusaro v.

        Cogan, 930 F.3d 241, 252 (4th Cir. 2019) (quoting Am. Ass’n of Pol. Consultants, Inc. v.

        Fed. Commc’ns Comm’n, 923 F.3d 159, 163 (4th Cir. 2019)). “Content-based laws” are

        “those that target speech based on its communicative content,” and “[g]overnment

        regulation of speech is content[-]based if a law applies to particular speech because of the

        topic discussed or the idea or message expressed.” Reed v. Town of Gilbert, 576 U.S. 155,

        163 (2015). Content discrimination can take several forms, including “defining regulated

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        speech by its function or purpose,” and regulating speech based on the speaker’s identity

        (so-called speaker discrimination). Id. at 163, 169–70. As for speaker discrimination, the

        Supreme Court has recognized, “because speech restrictions based on the identity of the

        speaker are all too often simply a means to control content, . . . we have insisted that laws

        favoring some speakers over others demand strict scrutiny when the legislature’s speaker

        preference reflects a content preference.” Id. at 170 (cleaned up); see also Citizens United

        v. Fed. Election Comm’n, 558 U.S. 310, 340 (2010) (“the Government may commit a

        constitutional wrong when by law it identifies certain preferred speakers.”). Regardless of

        their exact nature, content-based regulations “are subject to strict scrutiny.” Reed, 576 U.S.

        at 163–64.

               I believe that this case falls at the juncture of these two lines of jurisprudence. First,

        it directly implicates the First Amendment right to access judicial documents: Courthouse

        News seeks access to non-sealed Virginia civil court records. See Op. Br. at 6. 1 While the

        Supreme Court’s jurisprudence is limited to the right to access in criminal proceedings,

        this Court, like all of our sister circuits to address the question, has extended the First

        Amendment right of access to certain non-sealed civil court documents. 2 United States ex


               1
                 Here, I pause to note that nothing in this opinion should be read to implicate our
        long-standing jurisprudence regarding the sealing of civil court documents. See e.g. United
        States ex rel. Oberg v. Nelnet, Inc., 105 F.4th 161, 171 (4th Cir. 2024).
               2
                It is true that the First Amendment right to access does not attach to each and every
        document implicated in a suit. The right to access judicial records derives from two
        sources: the common law and the First Amendment. And, “[b]ecause there are two
        sources, the right protected by each varies.” Oberg, 105 F.4th at 171. While the press and
        the public enjoy a common-law right of access to all “documents filed with the court . . .

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        rel. Oberg v. Nelnet, Inc., 105 F.4th 161, 172 (4th Cir. 2024); Courthouse News Serv. v.

        Planet, 947 F.3d 581, 590 (9th Cir. 2020) (noting “every circuit to consider the issue has

        uniformly concluded that the right applies to both civil and criminal proceedings”).

        Caselaw is clear that “we apply strict scrutiny to examine an asserted infringement of a

        First Amendment right of access.” Courthouse News Serv. v. Schaefer, 2 F.4th 318, 328

        (4th Cir. 2021).

               As for the second doctrine, it is true that the Access Restriction cannot be deemed

        pure speaker discrimination. Virginia is not telling Courthouse News it cannot speak while

        it allows lawyers to speak. And Virginia is providing Courthouse News with access to

        judicial documents, although not through OCRA.

               However, Virginia is limiting access to its records based on the identity of the

        requester (the would be “listener”) as a means of controlling the content of the listener’s

        resulting speech. This is what I call “listener-based discrimination.” And, as we have

        recognized, “when the government has decided to make certain information available, there




        [that] play a role in the adjudicative process or adjudicate substantive rights,” the First
        Amendment right of access only “attaches to any judicial proceeding or record (1) that has
        historically been open to the press and general public; and (2) where public access plays a
        significant positive role in the functioning of the particular process in question.” Id.
        (cleaned up). Here, like the majority, I assume that the documents Courthouse News seeks
        are those covered by the First Amendment and limit my discussion to those documents.
        Supra at 8–9 (majority opinion). Our jurisprudence supports this generous assumption and
        has found the First Amendment extends to a wide range of civil documents. See e.g.,
        Oberg, 105 F.4th at 171 (holding there is a First Amendment right of access to a motion
        for summary judgment and its accompanying exhibits); Schaefer, 2 F.4th at 328 (holding
        there is a right to access newly filed civil complaints). To the extent that Courthouse News
        may demand access to documents only covered by the common-law right of access, I would
        leave that unasked question unanswered.
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        are ‘limits to its freedom to decide how that benefit will be distributed.’” Fusaro, 930 F.3d

        at 255 (quoting L.A. Police Dep’t v. United Reporting Publ’g Corp., 528 U.S. 32, 43 (1999)

        (Ginsburg, J., concurring)); see also Richmond Newspapers, Inc., 448 U.S. at 576 (plurality

        opinion) (noting that the First Amendment protects the “freedom to listen”).

               Virginia limits OCRA access based on the listeners’ identity. Virginia only allows

        three groups of people to access OCRA: “[1] members in good standing with the Virginia

        State Bar and their authorized agents, [2] pro hac vice attorneys authorized by the court for

        purposes of the practice of law, and [3] such governmental agencies as authorized by the

        clerk.” Va. Code § 17.1–293(E)(7). It denies access to all others. The reason that

        Courthouse News cannot access OCRA is clear and uncontested: Courthouse News is a

        news service. See supra at 5 (majority opinion); J.A. 82.

               By limiting access based on the listener’s profession, i.e. whether the listener is a

        lawyer as opposed to a journalist, Virginia evinces a preference for certain types of speech.

        Lawyers can use the information obtained from OCRA to assist in performing their

        professional duties, such as writing briefs and making legal arguments. But news services

        cannot use OCRA to perform their professional duties: to report on the news. The press

        relies on information—the press can only report if it has something to report. Without

        access to information, the press is silenced; it cannot speak. Cf. Branzburg v. Hayes, 408

        U.S. 665, 681 (1972) (“without some protection for seeking out the news, freedom of the

        press could be eviscerated”). Virginia is, therefore, regulating OCRA access based on

        “what the [listener] proposes to say.” Gresham v. Swanson, 866 F.3d 853, 856 (8th Cir.

        2017). A form of content discrimination, the Access Restriction is “swapping an obvious

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        subject-matter restriction” (no media reporting) for a listener-based “proxy that achieves

        the same result.” City of Austin v. Reagan Nat’l Advert. of Austin, LLC, 596 U.S. 61, 74

        (2022). And this I would refer to as “listener-based discrimination.”

               The majority argues that the Access Restriction is content-neutral because it

        “applies to all nonconfidential civil court records in the same fashion and does not treat

        civil court records about a certain subject or topic differently than others.” Supra at 11

        (majority opinion) (citation omitted). But, in my view, the determination of content

        neutrality does not always depend on the information being sought; it can depend on the

        listener seeking it. See, e.g., Fusaro, 930 F.3d at 252. Here, Virginia is regulating access

        based on the listener’s identity. This constitutes listener-based discrimination.

                                                     B.

               Like all rights, “even when a [First Amendment] right . . . attaches, it is not

        absolute,” and the government may nevertheless justify their restriction before the courts.

        Press-Enterprise Co., 478 U.S. at 9; see also Oberg, 105 F.4th at 171 n.8 (“[t]hough the

        First Amendment poses a high bar . . . it is not insurmountable.”). Having established that

        Virginia is engaging in listener-based discrimination, the question remains: What is the

        proper standard of review? In a previous opinion, this Court has acknowledged that laws

        that “restrict[] access to and use of [certain government information] based on the identity

        of the speaker requesting [it] and the content of the speaker’s message” “can trigger strict

        scrutiny.” Fusaro, 930 F.3d at 252. Because this case involved judicial documents, I

        would impose strict scrutiny.



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               In determining that strict scrutiny is appropriate to listener-based discrimination,

        looking to our public forum analysis is instructive. When it comes to government property,

        “the nature of the government property (or ‘forum’) determines the permissible scope of

        government control.” White Coat Waste Project v. Greater Richmond Transit Co., 35 F.4th

        179, 196 (4th Cir. 2022). Caselaw divides government property into at least three

        categories: traditional, designated, and nonpublic forums. 3 When determining which

        category a forum falls within, we look to whether a forum is “historically associated with

        the free exercise of expressive activities.” Id.

               For “traditional” or “designated public forums,” “governments have limited leeway

        to restrict speech.” Id. While “the government may impose reasonable time, place, and

        manner restrictions on private speech, [ ] restrictions based on content must satisfy strict

        scrutiny, and those based on viewpoint are prohibited.” Minn. Voters All. v. Mansky, 585

        U.S. 1, 11 (2018). But when it comes to nonpublic forums, the standard of review is lower,

        as the government “may draw distinctions based upon . . . speaker identity.” Child

        Evangelism Fellowship of S.C. v. Anderson Sch. Dist. Five, 470 F.3d 1062, 1067 (4th Cir.

        2006); see also Minn. Voters All., 585 U.S. at 12 (“our decisions have long recognized that


               3
                 Traditional public forums are “‘public places’ historically associated with the free
        exercise of expressive activities, such as streets, sidewalks, and parks.” White Coat Waste
        Project, 35 F.4th at 196. Designated public forums are areas “lacking” traditional public
        forums’ “historical association with free expression” but that the government has designated
        as a public forum. Id. Nonpublic forums, on the other hand, are “[p]ublic property which
        is not by tradition or designation a forum for public communication.” Id. There is
        considerable debate about whether there are three or four types of free-speech forums. As
        my discussion of public forums is simply to illustrate my belief that strict scrutiny should
        apply to listener-based discrimination, I have only identified three here but otherwise follow
        this Court’s lead of declining to “wade into this morass.” Id. at 196 n. 13.
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        the government may impose some content-based restrictions on speech in nonpublic

        forums”); see also White Coat Waste Project, 35 F.4th at 196 (governments have “wider

        latitude to limit speech” in nonpublic forums).

               As with our public forum analysis, I would hold that listener-based restrictions on

        government information likewise depend on the “nature” of the documents (or

        proceedings) that the listeners seek to access. When the listener seeks access to documents

        which are “historically associated with free exercise of expressive activities,” id., strict

        scrutiny should apply. But when a listener attempts to access documents that are not “by

        tradition or designation” ripe for public view, id., the government may exercise greater

        leeway in limiting speech based on the identity of the listener, cf. Fusaro, 930 F.3d at 252,

        262 (holding that, because the government was “not compelled” to provide voter

        registration lists, limitations on the right to access were subject to intermediate scrutiny).

               Applying that framework here, I would hold that judicial records are “historically

        associated with free exercise of expressive activities.” White Coat Waste Project, 35 F.4th

        at 196. “For many centuries, both civil and criminal trials have traditionally been open to

        the public.” Gannett Co. v. DePasquale, 443 U.S. 368, 386 n.15 (1979); see also Publicker

        Indus., Inc. v. Cohen, 733 F.2d 1059, 1067–70 (3d Cir. 1984) (gathering historical

        evidence). As the Supreme Court has long observed, “‘A trial is a public event. What

        transpires in the court room is public property.’” Cox Broadcasting Corp. v. Cohn, 420

        U.S. 469, 492 (1975) (quoting Craig v. Harney, 331 U.S. 367, 374 (1947)).

               This tradition of openness is intertwined with the press’ freedom—indeed,

        obligation—to report on the judicial process. As the Supreme Court observed, “[a]

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        responsible press has always been regarded as the handmaiden of effective judicial

        administration.” Neb. Press Ass’n, 427 U.S. at 559–60. This is because the press bears the

        “[g]reat responsibility” of “report[ing] fully and accurately the proceedings of

        government,” and “judicial proceedings . . . are without question events of legitimate

        concern to the public and consequently fall within the responsibility of the press to report.”

        Cox Broadcasting Corp., 420 U.S. at 491–92. As for criminal trials specifically, the

        Supreme Court observed that access by the public and the press “enhances the quality and

        safeguards the integrity of the factfinding process, with benefits to both the defendant and

        to society as a whole.” Globe Newspaper Co., 457 U.S. at 606. The right of access allows

        the public to “participate in and serve as a check upon the judicial process — an essential

        component in our structure of self-government.” Id.

               Considering this long history, I would hold that listener-based restrictions on access

        to judicial records must be subject to strict scrutiny.

                                                      C.

               The majority rests its analysis on the fact that there is no “freestanding First

        Amendment right of online access to court records.” Supra at 8–9 (majority opinion). It

        then argues that this is a time, place, and manner restriction because “the denial of OCRA

        access limits when, where, and how Courthouse News may access those court records:

        during business hours at the courthouse using public access terminals instead of all hours

        of every day, remotely, using a personal computer with internet access.” Supra at 9

        (majority opinion).



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               As to the majority’s first point, I agree—there is no freestanding right to online

        access. This Court has found that the public has a reasonably contemporaneous right to

        civil complaints, and that the government must take steps to ensure the prompt processing

        and availability of newly filed complaints. See Schaefer, 2 F.4th at 328. Therefore, not

        only does the public have a right to accessing these civil judicial documents, but the

        government also has an affirmative duty to ensure such access. Kreimer v. Bureau of

        Police for Town of Morristown, 958 F.2d 1242, 1255 (3d Cir. 1992) (“Our review of the

        Supreme Court’s decisions confirms that the First Amendment does not merely prohibit

        the government from enacting laws that censor information, but additionally encompasses

        the positive right of public access to information and ideas.”). However, we have noted

        that courts have “flexibility” and “leeway” in ensuring that the public has contemporaneous

        access to civil complaints. Schaefer, 2 F.4th at 328. Accordingly, the government could

        shut down OCRA in its entirety without implicating the First Amendment. 4

               It is with the majority’s second point that I respectfully disagree. The majority

        reasons that this case is just about one organization’s access to civil court documents. But

        this case is not about accessing the court records themselves; it is about the government’s

        discriminatory limitation on OCRA access. The government has made OCRA available,

        but only to some. It has imposed a blanket fiat banning Courthouse News from OCRA.



               4
                 I stress here that I do not believe that states are constitutionally obligated to create
        an online system similar to OCRA. Our jurisprudence on the right of public access governs
        what is necessary in that regard. My discussion here instead considers how the government
        may regulate access to a database containing judicial records, like OCRA, if it chooses to
        create one.
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        Courthouse News is never allowed to access OCRA at any time, in any place, or in any

        manner. The Access Restriction simply is not a time, place, or manner restriction, as the

        majority argues. Rather, as explained above, I would hold that it should be subject to strict

        scrutiny.

                                                       D.

               Simply because the Access Restriction should be subject to strict scrutiny does not

        mean that it is necessarily unconstitutional. Consistent with our jurisprudence, strict

        scrutiny is satisfied when the regulation is “necessitated by a compelling government

        interest and the denial of access is narrowly tailored to serve that interest.” Oberg, 105

        F.4th at 171 (citation and quotation marks omitted). Because the district court did not have

        occasion to consider this case under the strict scrutiny standard, see J.A. 545 (the district

        court holding that the Access Restriction “resembles a time, place, and manner restriction

        and relaxed scrutiny applies”), I would remand for further consideration.


                                                       III.

               Turning to Virginia’s Dissemination Restriction, I again respectfully dissent. I

        would hold that the Dissemination Restriction is a prior restraint on speech and is,

        therefore, subject to strict scrutiny. Like with the Access Restriction, I would remand to

        the district court to apply strict scrutiny.

               In my view, the Dissemination Restriction is a classic form of prior restraint,

        regardless of whether Courthouse News has an independent First Amendment right to

        access OCRA or whether it must depend on a third party to download OCRA’s content.


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               In contrast to regulations penalizing past speech, “[t]he term prior restraint is used

        to describe administrative and judicial orders forbidding certain communications when

        issued in advance of the time that such communications are to occur.” Alexander v. United

        States, 509 U.S. 544, 550 (1993) (citation and quotation marks omitted) (emphasis in

        original). Prior restraints are a particularly odious threat to the rights enshrined in the First

        Amendment. As the Supreme Court explained, “[i]f it can be said that a threat of criminal

        or civil sanctions after publication ‘chills’ speech, prior restraint ‘freezes’ it.” Neb. Press

        Ass’n, 427 U.S. at 559. As a result, “[p]rior restraints have been accorded the most exacting

        scrutiny.” Smith, 443 U.S. at 102; see also Neb. Press Ass’n, 427 U.S. at 558 (“Any prior

        restraint on expression comes to this Court with a heavy presumption against its

        constitutional validity.”) (cleaned up).

               This is particularly true when it comes to reports of judicial proceedings. “[T]he

        First and Fourteenth Amendments command nothing less than that the States may not

        impose sanctions on the publication of truthful information contained in official court

        records open to public inspection.” Cox Broadcasting Corp., 420 U.S. at 495. “Once true

        information is disclosed in public court documents open to public inspection, the press

        cannot be sanctioned for publishing it.” Id. at 496.

               Here, as the parties acknowledge, “[t]here is no difference in the content” between

        the records available at the courthouse and available on OCRA, as “they are the same

        records.” J.A. 87 (joint stipulation). Therefore, these “official court records” are “open to

        public inspection.” Yet the Dissemination Restriction flatly prohibits Courthouse News or



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        anyone else from “in any way redistribut[ing] to any third party” any data accessed via

        OCRA. Va. Code § 17.1–293(H). This is a blatant form of prior restraint.

               Virginia implies that because Courthouse News could get this same information a

        different way and then disseminate it, the Dissemination Restriction is not a form of prior

        restraint. Virginia Response Br. at 50. But we have already considered and rejected a

        similar argument.

               In Soderberg v. Carrion, we found that strict scrutiny applied to Maryland’s

        prohibition on broadcasting official court recordings of criminal proceedings. 999 F.3d

        962 (4th Cir. 2021). We rejected Maryland’s argument that because there was not an

        “absolute prohibition[] on the publication of information in any form” and there were

        “other means of disseminating the same information,” the broadcasting ban only

        constituted a time, place, and manner restriction. Id. at 966, 969. Drawing on Supreme

        Court precedent, we explained: “[i]f a newspaper lawfully obtains truthful information

        about a matter of public significance[,] then state officials may not constitutionally punish

        publication of the information, absent a need to further a state interest of the highest order.”

        Id. at 968 (quoting Smith, 443 U.S. at 103).

               The same is true here. The fact that Courthouse News can obtain and then

        disseminate the information by going into the courthouse does not render the

        Dissemination Restriction a time, place, and manner restriction. Because Courthouse

        News can lawfully obtain information contained in non-sealed civil courts records, I would

        hold that the Dissemination Restriction is a form of prior restraint and must be subject to

        strict scrutiny.

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              Like with the Access Restriction, the district court did not conduct a strict scrutiny

        analysis of the Dissemination Restriction. See J.A. 561. I would, therefore, remand for

        reconsideration.

                                              *      *     *

              For these reasons, I respectfully dissent.




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